          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                      CRIMINAL CASE NO. 3:07cr211


UNITED STATES OF AMERICA, )
                          )
                          )
              vs.         )                      ORDER
                          )
                          )
VICTORIA L. SPROUSE.      )
                          )



      THIS MATTER is before the Court on the Government’s Motion for

Reconsideration of Defendant Sprouse’s Motion to Sever [Doc. 197],and

the Defendant’s Response and Motion to Continue [Doc. 198].

      By Order entered February 19, 2009 [Doc. 170], the undersigned

granted the Government’s motion to sever Counts 33 and 34 relating to

charges against Sprouse of obstruction of justice before the grand jury. By

the same Order, the Court granted the Defendant’s motion to sever Counts

28 through 32 relating to charges against Sprouse of perjury and

obstruction of justice in connection with a civil trial. One reason for the

ruling was the potential confusion and prejudice to the other defendants

that may result from the joinder of the perjury and obstruction of justice



   Case 3:07-cr-00211-MR-DCK      Document 205    Filed 03/13/09   Page 1 of 3
charges relating solely to Defendant Sprouse.

      Since that ruling, Sprouse’s two co-defendants have changed their

pleas from not guilty to guilty and Sprouse is now the only defendant

remaining for trial. As a result, the Government seeks to place the perjury

and obstruction charges contained within Counts 28 through 32 before the

jury for trial. The Government does not ask the Court to revisit its ruling

that the obstruction charges in Counts 33 and 34 should be severed.

      Defense counsel object, noting that less than two weeks remain

before trial and advising that they will be unprepared to try these additional

counts. Defense counsel alternatively move to continue the entire case

from its peremptory setting of March 23, 2009 in the event that the Court

does join these counts for trial.

      Since Defendant Sprouse is the only defendant remaining for trial, it

would not be inappropriate to join these perjury and obstruction counts for

trial since these charges relate to the underlying mortgage fraud counts.

At this late date, however, it would be unfair to expect defense counsel to

prepare for these counts in the time remaining before trial. The allegations

relating to these counts involve a civil trial which occurred in January and

February 2007, well after the time of the charges in the indictment.

Although the alleged perjury and obstruction occurred in the context of the



   Case 3:07-cr-00211-MR-DCK        Document 205   Filed 03/13/09   Page 2 of 3
underlying charges, pre-trial preparation would require interviews of

witnesses and review of discovery. While the Government is correct that

Defendant Sprouse will still have to prepare for the possibility of some of

the evidence related to these counts being presented at trial under either

Rule 404(b) or Rule 608, such preparation would appear to be substantially

different from actually defending those counts. Moreover, the

Government’s claims of judicial economy are not persuasive since the

remaining two charges in Counts 33 and 34 will nonetheless be tried in a

separate case. As a result, the Court will deny the motion.

      IT IS, THEREFORE, ORDERED that the Government’s Motion for

Reconsideration of Defendant Sprouse’s Motion to Sever [Doc. 197] is

hereby DENIED. In light of the denial of the Government’s Motion for

Reconsideration, the basis for Defendant’s alternative motion to continue

has not been realized, and therefore the Motion to Continue [Doc. 198] is

DENIED.

                                      Signed: March 13, 2009




   Case 3:07-cr-00211-MR-DCK    Document 205     Filed 03/13/09   Page 3 of 3
